    Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 1 of 17




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig            *               MDL No. 2179
“Deepwater Horizon” in the Gulf            *
of Mexico, on April 20, 2010               *               SECTION “J”
                                           *               JUDGE BARBIER
This Document Relates to:                  *
All cases in Pleading Bundles B1 and B3;   *
10-2771; 10-3815; 10-1540; 10-1502         *               MAGISTRATE NO. 1
                                           *               MAGISTRATE SHUSHAN
* * * * * * * * * *                      * *


MEMORANDUM IN SUPPORT OF JOINT MOTION OF DEFENDANTS ANADARKO
  PETROLEUM CORPORATION, ANADARKO E&P COMPANY LP, AND MOEX
   OFFSHORE 2007 LLC TO COMPEL RESPONSE TO DISCOVERY REQUESTS
 SERVED UPON BP EXPLORATION & PRODUCTION, INC., BP AMERICA, INC.,
          BP AMERICA PRODUCTION COMPANY, AND BP PLC

                                   I.      INTRODUCTION
          Defendants Anadarko Petroleum Corporation, Anadarko E&P Company LP (together

“Anadarko”), and MOEX Offshore 2007 LLC (“MOEX Offshore”) (together the “Non-

Operating Defendants”) respectfully submit this memorandum in support of their joint motion

pursuant to Fed. R. Civ. P. 37 for an order compelling BP Exploration & Production, Inc. (“BP

Exploration”), BP America Inc., BP American Production Company, and BP p.l.c. (together

“BP”) to produce documents responsive to Anadarko’s and MOEX Offshore’s Requests for

Production and to respond to Anadarko’s and MOEX Offshore’s Interrogatories and Requests for

Admissions served in connection with this multi-district litigation. See Appendix, Exhibit A.

          Notwithstanding its earlier compliance with discovery requests and its own efforts to

obtain discovery related to the Non-Operating Defendants, BP has now refused to comply with

pending discovery requests from the Non-Operating Defendants. The sole ground for BP’s

refusal is its assertion that the discovery somehow violates the dispute resolution provisions of

the Macondo Prospect Offshore Deepwater Operating Agreement (“OA”) between BP




A/74144441.10
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 2 of 17




Exploration and the Non-Operating Defendants. 1 But as shown below: (1) the plaintiffs’ claims

fall far outside the scope of the dispute resolution provisions of the OA; (2) there is not now and

may never be an arbitration proceeding between BP and the Non-Operating Defendants; and (3)

the evidence sought is directly relevant to the Non-Operating Defendants’ defense against

plaintiffs’ claims and is discoverable regardless of whether any of the requests overlap with

issues that may or may not be arbitrated in the future. For these and other reasons discussed

below, BP’s arguments are meritless, and the Court should compel BP to meet its discovery

obligations and promptly respond to the Non-Operating Defendants’ discovery requests.

                    II.     FACTUAL AND PROCEDURAL BACKGROUND

       A.        The Non-Operating Defendants’ Need for Discovery
       Like other defendants in this action, the Non-Operating Defendants are defending against

approximately 40,000 claims brought by various plaintiffs. The claims are based on the alleged

role of the Non-Operating Defendants as parties to the OA with BP Exploration concerning the

drilling of the Macondo Well in the Gulf of Mexico. As the “Operating Party” under the OA, BP

Exploration was charged with the “exclusive right and duty” to conduct all exploration, drilling,

and associated activities at the Macondo Prospect. Appendix, Exhibit B, at Article 5.1.

       In the scores of claims that the various plaintiffs have asserted against the Non-Operating

Defendants, plaintiffs allege essentially that, despite the lack of any operational control on their
part, the Non-Operating Defendants bear responsibility for the April 20, 2010 blowout that

occurred on the Deepwater Horizon (the “Blowout”), the resulting oil spill, and the ensuing

containment and remediation efforts.          To defend against these claims and prepare for the

February 2012 trial, the Non-Operating Defendants—like every other defendant—must obtain

discovery concerning the events leading up to and causing the Blowout, the containment efforts,

and the relative fault, if any, on the part of the other defendants that may have resulted in the

plaintiffs’ alleged injuries. Because BP Exploration, as the Operator in control of the Deepwater


       1
           Relevant portions of the OA are attached as Exhibit B.

                                                     2
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 3 of 17




Horizon’s drilling efforts, is the largest single repository of evidence concerning how the

Blowout occurred, the discovery requests served by the Non-Operating Defendants necessarily

have included requests to the BP parties for evidence in their exclusive custody.

       B.      BP’s Actions in Discovery
       BP has implicitly conceded by its own discovery program that discovery by and between

the parties to the OA is relevant to defending against the plaintiffs’ claims. BP responded to

discovery requests served on it by the Non-Operating Defendants as recently as February 22,

2011, serving responses and objections to the Non-Operating Defendants’ Interrogatories and

Requests for Production of Documents. Appendix, Exhibit C. Further, BP has not raised any

objection when the Non-Operating Defendants participated in the questioning of BP witnesses

who have been deposed in the case, including witnesses such as Mark Bly, BP’s Executive Vice

President, Safety & Operational Risk; David Sims, BP’s Wells Operations Manager for the Gulf

of Mexico; Ronald Sepulvado, former BP Well Site Leader for the Deepwater Horizon; John

LeBleu, a BP Fluids Specialist; and Shane Albers, a BP Subsea Engineer, to name just a few.

       In addition, BP has served its own discovery requests seeking evidence about the alleged

conduct of the Non-Operating Defendants in connection with the Blowout. For example, the BP

Parties’ List of Potential Priority Deponents distributed on or about February 16, 2011, included

six employees or representatives of the Non-Operating Defendants or their affiliates: (1) Darrell

Hollek, Anadarko Vice President, Operations; (2) Paul Chandler, Anadarko’s Project Geological

Advisor; (3) Nick Huch, Anadarko’s Land/Drilling Engineer; (4) Robert Quitzau, Anadarko

Contract Drilling Engineer; (5) Shinjiro Naito, Senior Manager, Geologist/Unit General

Manager, Mitsui Oil Exploration Co., Ltd. (“MOECO”); and (6) Kyoko Yamamoto, an

administrative assistant, MOECO. Appendix, Exhibit D, at 14, 17.

       BP also has served discovery requests on other parties seeking evidence about the Non-

Operating Defendants. For example, BP’s Second Request for Production of Documents to

Halliburton included the following document requests:



                                                3
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 4 of 17




                 42. Please produce all documents discussing, reflecting or relating
                 to communications between Halliburton and Anadarko discussing,
                 reflecting or relating to the Macondo well.

                 43. Please produce all documents discussing, reflecting or relating
                 to communications between Halliburton and Mitsui Offshore
                 Exploration or MOEX discussing, reflecting or relating to the
                 Macondo well.
Appendix, Exhibit E.         See also Appendix, Exhibit F, The BP Parties’ First Request For

Production Of Documents To The Transocean Parties (March 11, 2011) (seeking “All documents

relating to the Transocean Command Center initially set up in response to the Deepwater

Horizon incident, including but not limited to documents relating to communications between

the Transocean Command Center and the United States Coast Guard, the BP Command Center,

or any other third party”) (emphasis added).

       C.        BP’s Refusal to Comply with the Non-Operating Defendants’ Discovery
                 Requests
       Despite pursuing its own discovery against the Non-Operating Defendants, and despite

the undisputed possession by BP of evidence that is crucial to the ability of the Non-Operating

Defendants to defend against the plaintiffs’ claims, BP has abruptly changed course over the past

three weeks. On March 24, 2011, BP asked that the meet and confer conference requested by the

Non-Operating Defendants to discuss outstanding discovery issues be held no earlier than the

week of April 4, 2011. Appendix, Exhibit G (March 24, 2011 email from Timothy A. Duffy).

BP subsequently contended that the discovery sought by the Non-Operating Defendants was

impermissible in light of the arbitration provisions of the OA.

       Notably, BP has not claimed that the discovery served by the Non-Operating Defendants
sought evidence that is irrelevant or otherwise objectionable under the Federal Rules of Civil

Procedure. Instead, BP sweepingly asserted that the arbitration provisions effectively block all

discovery that the Non-Operating Defendants had sought or might seek from BP. Appendix,

Exhibit G (April 4, 2011 email from R. Chris Heck). 2


       2
           BP re-asserted this position at the meet and confer held on April 5, 2011.

                                                      4
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 5 of 17




          Thus, BP seeks to prohibit the Non-Operating Defendants from taking any discovery

from BP about responsibility for the Blowout—no matter how relevant and indispensable such

evidence is to the defenses raised by the Non-Operating Defendants to the plaintiffs’ claims. BP

has made this extraordinary claim purportedly based on arbitration provisions in the OA even

though: (1) the agreement to arbitrate expressly is limited to claims “between” BP Exploration

and the Non-Operating Defendants, and thus does not apply to the 40,000 claims brought by

plaintiffs against the Non-Operating Defendants; (2) there is no pending arbitration proceeding

between the parties to the OA; (3) even if an arbitration proceeding were pending, BP would

have no right to prevent the Non-Operating Defendants from taking discovery directly relevant

to their defenses in these proceedings against third parties simply because the same evidence

might also be admissible in an arbitration between the parties to the OA; and (4) in these very

proceedings in which BP seeks to preclude the Non-Operating Defendants from pursuing

relevant discovery from BP, BP itself has pursued and continues to pursue discovery from and

related to the Non-Operating Defendants notwithstanding the OA.

                                      III.   ARGUMENT

          A.     Separate and Apart from Any Dispute Under the OA, Anadarko and MOEX
                 Offshore Are Entitled to Discovery on Issues Essential to Their Defense in
                 this MDL Proceeding.
          Under Rule 26 of the Federal Rules of Civil Procedure, “[p]arties may obtain discovery

regarding any non-privileged matter that is relevant to any party’s claim or defense . . . For good

cause, the court may order discovery of any matter relevant to the subject matter involved in the

action.    Relevant information need not be admissible at the trial if the discovery appears

reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P. 26(b)(1).

A party may “move for an order compelling disclosure or discovery” for disclosures required by

Rule 26(a) or in response to requests propounded under Rules 30, 31, 33 or 34. Fed. R. Civ. P.

37(a)(1), (3)(A)-(B).




                                                5
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 6 of 17




        BP, as the party opposing discovery, bears the burden of “show[ing] specifically how . . .

each [request] is not relevant or how each [request] is overly broad, burdensome or oppressive.”

McLeod, Alexander, Powel and Apffel, P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990)

(quoting Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (emphasis added)); see also

Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005) (“As the party resisting

discovery, the burden is on Plaintiffs to clarify and explain their objections and to provide

support for those objections”) (citation omitted).

        The discovery requests that Anadarko and MOEX Offshore recently served upon the BP

Defendants are directly relevant to the central issues in this case: what happened on the

Deepwater Horizon at the Macondo Prospect site, which parties were responsible for the

Blowout, and the degree and nature of each defendant’s fault. This discovery is essential to

contesting the claims asserted in the MDL against the Non-Operating Defendants. For example,

the plaintiffs in the Pleading Bundle B1 First Amended Master Complaint, Doc. No. 1128, allege

that:
        •   Anadarko and MOEX Offshore “were to receive significant information from BP
            regarding [health, safety and environment (“HSE”)] issues and had the right to
            demand further information, as well as to call for meetings on those subjects and
            conduct their own inspections of the Deepwater Horizon vessel.” Id. ¶ 282;
        •   Anadarko and MOEX Offshore were “on notice of the following relevant provisions
            of that well plan: (a) location; (b) the anticipated time necessary to conclude the
            operation; (c) total depth and target zones; (d) the proposed drilling and completion
            plans, including the casing program and directional details; (e) details of all coring,
            logging, and other evaluation operations conducted; (f) information about the drilling
            rig to be used.” Id. ¶ 283;
        •   Anadarko and MOEX Offshore “had access to Halliburton/Sperry Sun INSITE real
            time feed data that was transmitted from the Deepwater Horizon on April 20, 2010[,]
            they knew or should have known of the presence of hydrocarbons in the well on the
            evening of April 20, 2010, and they owed a duty to Plaintiffs to warn of the
            impending disaster in sufficient time to avert it.” Id. ¶ 573;
        •   Anadarko and MOEX Offshore “were not . . . passive and unknowing investors” but
            in fact were “on actual or constructive notice of the potentially disastrous conditions
            at the well site;” and the “[f]ailure to exercise this role given the known history of
            specific problems at the wellsite was negligence.” Id. ¶ 574; and



                                                 6
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 7 of 17




       •   Anadarko and MOEX Offshore’s negligence renders them “jointly, severally, and
           solidarily liable to Plaintiffs.” Id. ¶ 578. 3

       Likewise, Anadarko and MOEX’s Answers to the Complaint filed by the United States of

America include affirmative defenses that the violations or damages were “proximately caused

by the acts or omissions of [other] persons,” that Anadarko and MOEX Offshore are “not jointly

and severally liable for the damages alleged in the Complaint based on divisibility of the harms

alleged,” and that the “damages alleged by Plaintiff were the result of the comparative fault or

negligence of the Plaintiff or of other parties[.]” See United States of America v. BP Exploration

& Production, Inc., et al., No. 10-04536, Doc No. 1859, at 14–15 (Answer of MOEX Offshore)
and Doc No. 1860, at 14–15 (Answer of Anadarko Petroleum Corporation).

       In order to respond to the plaintiffs’ allegations and support their defenses, it is

imperative that the Non-Operating Defendants obtain evidence from BP, the entity that in fact

was the Operator and in control of the drilling operations. Toward that end, the Non-Operating
Defendants have served discovery requests on BP Exploration that seek, inter alia, the following

information:

               REQUEST FOR ADMISSION NO. 1:

               Please admit that [the Non-Operating Defendants’] personnel
               never visited the Marianas or Deepwater Horizon rigs during the
               drilling of the MACONDO WELL.

               REQUEST FOR ADMISSION NO. 2:

               Please admit that [the Non-Operating Defendants] did not
               participate in developing the cement design for the MACONDO
               WELL production casing. 4


       3
          See also Pleading Bundle B3 First Amended Master Complaint, Doc. No. 1812, ¶¶ 79, 219–20,
242–44, 251–57, 262; State of Alabama First Amended Complaint, Doc. No. 1872, ¶¶ 98–105; 129;
145–47; 210; Rhodes v. Transocean et al., No. 2:10-cv-1502, Fifth Amending Complaint, Doc. No. 1834,
¶¶ 3.P, 9–12 (incorporating by reference allegations from the Pleading Bundle B1 First Amended Master
Complaint).
       4
         See Non-Operating Defendants’ First Requests for Admissions to BP America Inc., BP America
Production Company, BP Exploration And Production Inc., B.P. P.L.C. (collectively, “BP”) (April 4,
2011). Appendix, Exhibit A. These Requests for Admissions were accompanied by standard

                                                 7
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 8 of 17




Interrogatories served by the Non-Operating Defendants similarly asked what information in fact

was provided to the Non-Operating Defendants by BP Exploration—evidence that only can be

obtained from BP Exploration itself. 5 BP nevertheless contends that it is free to ignore these

requests.

        Likewise, BP now asserts that it does not have any obligation to supplement the prior

responses it did submit in response to discovery requests—notwithstanding the fact that its prior

responses are incomplete or inadequate. For example:

    •   In response to Requests for Production Nos. 14 and 15, calling for post-incident
        “pictures, video recordings, X-rays, audio recordings, samples, measurements and/or
        testing results” of or for the Deepwater Horizon or any of its equipment or components,
        and of or for the Macondo Well, BP stated that it would search for “results and
        supporting date of any post-Incident physical testing performed by [BP] . . . .” By
        limiting the response to only results and data and, further, only to results and data from
        BP’s testing, BP failed to fully respond to the request.

    •   In response to Interrogatory No. 1, BP failed to identify the BP employees who
        communicated on or before April 20, 2010 about alarm systems that were inhibited or
        bypassed, instead referring to the 2009 Audit Report.

    •   In response to Interrogatory No. 2, BP failed to identify the BP employees who
        communicated on or before April 20, 2010 regarding the functionality of the BOP.

    •   In response to Interrogatory No. 4, BP limited its answer to drilling operations in the Gulf
        of Mexico and ignored the portion of the question about “the number of centralizers” the
        BP Parties chose to use (and actually did use) in a well. 6

        Because the allegations raised against and the defenses asserted by the Non-Operating

Defendants depend upon the relative knowledge, culpability, and joint and several liability of the



interrogatories asking that, for each of the First Requests for Admissions that BP Exploration did not
unqualifiedly admit, all facts which support the response; all persons having knowledge of such facts; and
all documents reflecting such facts be identified. Appendix, Exhibit A.
        5
          See, e.g., Non-Operating Defendants’ Second Set of Interrogatories and Requests for Production
of Documents to BP America Inc., BP America Production Company, BP Exploration And Production
Inc., B.P. P.L.C. (collectively, “BP”) (April 4, 2011), Interrogatories 26–29. Appendix, Exhibit A.
        6
          Attached as Exhibits H and I to the Appendix are copies of letters that Anadarko and MOEX,
respectively, sent to BP detailing the inadequacies of its discovery responses.

                                                    8
   Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 9 of 17




various defendants, Anadarko and MOEX Offshore must be permitted to gather relevant,

discoverable information from BP. The discovery requests served upon BP are intended to yield

documents and information about these very issues. 7 Without them, Anadarko and MOEX

Offshore will be precluded improperly from the right to mount a full and fair defense in this

MDL action.
        B.      The OA’s Arbitration Provisions Provide No Justification for BP’s Refusal to
                Comply with Its Discovery Obligations.
        Although BP has responded to a number of prior discovery requests from Anadarko and

MOEX Offshore, and in fact has sought its own discovery from and regarding its co-defendants,

BP now flatly refuses to respond to any discovery requests from Anadarko and MOEX Offshore.

Its only asserted reason for this abrupt reversal is its claim that these discovery requests are
impermissible under the arbitration provisions of the OA.             This argument fails for several

reasons. First, the discovery sought by Anadarko and MOEX Offshore is critical to their

defenses to the claims asserted against them by the multitude of plaintiffs in the MDL. Even BP

must agree that there is discovery needed of it in these cases that is entirely outside of even BP’s

interpretation of the scope of the OA. Second, the Non-Operating Defendants did not institute

the MDL litigation and the discovery sought does not arise from any dispute that may exist

“between” the Non-Operating Defendants and BP Exploration. The overlap of some of the

issues in the non-arbitrable claims in this litigation with issues in potential future claims between
BP and the Non-Operating Defendants does not provide a legal basis for cutting off the right of

Anadarko and MOEX Offshore to obtain relevant information essential to their defenses in this

case. Third, BP’s own actions demonstrate that discovery among the co-defendants who are
parties to the OA is appropriate and central to the defense of the MDL claims. BP’s novel, self-

serving, and expansive construction of the OA’s arbitration provision must be rejected.



        7
         See, e.g., Appendix, Exhibit A (Non-Operating Defendants’ Interrogatories and Requests For
Production Of Documents To BP America Inc., BP America Production Company, BP Exploration and
Production Inc., and B.P. P.L.C. (collectively, “BP”), Interrogatory 13, Requests 3, 22 (January 7, 2010)).

                                                    9
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 10 of 17




                  1.     BP Cannot Preclude Discovery Relevant to Litigation Between the
                         Non-Operating Defendants and Third Parties.
        BP’s refusal to respond to the discovery requests based on the arbitration provisions of

the OA is misplaced. The OA’s dispute resolution provisions plainly do not apply to the claims

and defenses asserted in the MDL. Specifically, Article 22.9 of the OA provides that any “claim,

controversy, or dispute arising out of, relating to, or in connection with this Agreement or an

activity or operation conducted under this Agreement shall be resolved under the Dispute

Resolution Procedure in Exhibit ‘H’ to this Agreement.” Exhibit H, in turn, provides for the

arbitration of a certain category of “claim(s), controversy(ies) or dispute(s) . . . between BP
Exploration & Production Inc. and [the Non-Operating Defendants].” 8 Appendix, Exhibit B

(emphasis added). 9

        The discovery sought by Anadarko and MOEX Offshore is relevant to claims asserted

against them by approximately 40,000 plaintiffs in the MDL and is fundamental to Anadarko and

MOEX Offshore's defenses against those claims. The claims of these 40,000 plaintiffs are

plainly not subject to arbitration under the OA.

            There also is no dispute that BP has chosen not to commence an arbitration, despite now

claiming that it has had the right to do so since May of 2010, when it first attempted to force the

Non-Operating Defendants to pay part of the costs caused by BP’s conduct. BP thus has no basis

to claim that discovery in these matters constitutes a violation of the arbitration provisions.

                  2.     BP Cannot Avoid Its Discovery Obligations Simply Because Some of
                         the Information Sought in the MDL Might Be Relevant in Any Future
                         Arbitration.
        Because the arbitration agreement at issue here plainly does not apply to the third-party

claims that have been asserted in the MDL, BP is really claiming that it may ignore any

        8
          Exhibit H to the OA refers only to MOEX Offshore 2007, LLC, as non-operator. Anadarko,
however, later ratified the agreement.
        9
           For purposes of this motion only, the Non-Operating Defendants are assuming that the
arbitration provisions of the OA are enforceable. Although the Court need not reach the issue to decide
this motion, the Non-Operating Defendants reserve the right to contest the enforceability and applicability
of the arbitration provisions at the appropriate time.

                                                    10
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 11 of 17




discovery request so long as the request calls for any information that BP says might also be

relevant in a future arbitration. This expansive and unprecedented assertion is refuted by the

relevant case law and common sense.

       First, BP must concede that many of the discovery requests are not even arguably

relevant to any possible future arbitration proceeding (should one ever be initiated by the

parties). For example, evidence that (contrary to the plaintiffs’ allegations) the Non-Operating

Defendants did not exercise control over the Deepwater Horizon’s operations is irrelevant to any

possible future arbitration between BP and the Non-Operating Defendants and, in any event, can

hardly be disputed by BP in an arbitration or otherwise. Such evidence is, however, critical to

the Non-Operating Defendants’ defense against the claims asserted by the plaintiffs against them

in these proceedings.

       Moreover, the possible relevance of some of the evidence sought in discovery by the

Non-Operating Defendants to an as-yet non-existent arbitration under the OA does not provide

BP a shield against discovery relevant to this case. Discovery responses that are relevant to a

pending litigation simply cannot be withheld merely because they may also prove relevant in a

contemplated arbitration. For example, in Major, Lindsey & Africa, LLC v. Mahn, No. 10 Civ.

4239, 2010 WL 3959609 (S.D.N.Y. Sept. 7, 2010), an employer filed an action against its

employee for divulging confidential information to competitors. The employer sought both

monetary and injunctive relief. The parties previously had agreed to arbitrate all claims by the

employer for monetary damages, but the arbitration agreement specifically exempted claims for

injunctive relief relating to the issue of “confidentiality.” Id. at *1. The court denied the

employee’s motion to dismiss or stay the action in favor of an arbitration, even though the claims

were “substantially duplicative of various claims for money damages that are subject to

arbitration,” because the action fell within the terms of the express carve-out to the arbitration

clause. Id. at *4. With respect to discovery, the court made clear that the parties’ agreement did

not “preempt the Federal Rules of Civil Procedure with respect to discovery in connection with

this lawsuit. The fact that discovery in this action may prove useful in connection with the

                                               11
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 12 of 17




arbitration, which is subject to its own special discovery rules, is of no moment.” Id. (emphasis

added).

          Likewise, in Fleet Business Credit, LLC v. Solarcom, LLC, No. Civ. AMD 05-901, 2005

WL 1025799 (D. Md. May 2, 2005), the court declined to quash a subpoena simply because the

discovery sought could be used in a separate arbitration proceeding. There, an employee was

alleged to have executed a guaranty on behalf of his employer without any authorization to do

so. When the borrower defaulted, the creditors sought to enforce the guaranty, eventually filing

suit in federal court. Meanwhile, litigation between the employer and employee in state court

was stayed pending arbitration.        While that arbitration was pending, the employer served

document requests on the employee for use in its defense to the creditors’ claims in federal court.

The employee argued that the employer’s “attempt to obtain documents relevant to the issues in

the state court litigation constitute[d] an ‘end run’ around the stay of that action.” Id. at *1. The

federal court flatly rejected this claim: “That one or more documents called for here might also
be relevant to the issues in the (stayed) state court litigation between [the employer and

employee] is not a sufficient basis for non-production of such documents in the federal

litigation.” Id. at *2 (emphasis added). 10

          The logic underlying the decisions in Major, Lindsey & Africa and Fleet Business Credit

supports an order granting this motion to compel. As in those cases, Anadarko and MOEX

Offshore are seeking discovery that is essential to defending against the claims being asserted by

the thousands of plaintiffs who are part of the MDL. As in those cases, BP contends that

permitting such discovery would frustrate the rules and limits that apply to separate arbitration




          10
           Cf. Texas Trading & Transp. Inc. v. Laine Constr. Co., No. Civ. A. 98-1473, 1998 WL 814615,
at *2 (E.D. La. Nov. 18, 1998) (holding that even if, on appeal of denial of motion to compel arbitration,
the Fifth Circuit ordered plaintiff Texaco Trading’s claims against defendants to be arbitrated, a stay of
the district court proceedings pending appeal “would prejudice the rights of [defendants] to defend the
claims asserted by [plaintiff’s affiliates] Texaco Pipeline and Texaco Inc. (both with respect to discovery
and filing claims against potentially liable third parties)”) (emphasis added).

                                                    12
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 13 of 17




proceedings. 11 Just as the courts in Major, Lindsey & Africa and Fleet Business Credit declined

to restrict discovery in the independent federal disputes despite the potential relevance of the

responses to the arbitration, so too should this Court reject BP’s attempt to use the OA’s

arbitration provisions to frustrate the defense efforts of Anadarko and MOEX Offshore in the

MDL. See also Texas Trading & Transp. Inc. v. Laine Constr. Co., No. Civ. A. 98-1473, 1998

WL 814615, at *2 (E.D. La. Nov. 18, 1998) (denying stay of litigation pending appeal of denial

of motion to compel arbitration to avoid prejudice to defendants’ rights to defend even though, if

arbitration is compelled on appeal, “any discovery undertaken by the parties while the appeal is

pending could be used in connection with any future arbitration proceeding”); Cornell v. Dean

Witter Reynolds Inc., No. 95 Civ. 3050 (LMM), 1996 WL 76131, at *1 (S.D.N.Y. Feb. 21, 1996)

(denying motion by third party to quash deposition subpoena on grounds of arbitration

agreement because “the fact of the pending arbitration is not reason to deny plaintiff discovery

she is entitled to in the present case”).

        Indeed, BP’s logic is not restricted to cases like this one, where the parties to the

arbitration agreement are named as co-defendants. BP’s argument would likewise prohibit

discovery by Anadarko and MOEX Offshore even if BP had not been named as a defendant in

any of the MDL proceedings and was served with discovery only in its capacity as a non-party

witness. No reasonable reading of the OA’s arbitration provisions would support such a result.

If the parties had intended to forfeit their right to seek discovery and mount a full and fair

defense to claims asserted by non-parties to the OA, they would not have limited arbitrations to

disputes “between” the parties to the OA. Far more expansive and definitive language would

have been required. Cf. In re Garlock, 463 F. Supp. 2d 478, 480–81 (S.D.N.Y. 2006) (rejecting

an attempt by Ernst & Young to assert an arbitration agreement as a basis for resisting the taking

of a non-party deposition because, inter alia, “it would have been a very simple matter for E & Y


        11
           Moreover, in this case, unlike Major, Lindsey & Africa and Fleet Business Credit, arbitration
has not yet commenced—a point that further strengthens Anadarko and MOEX Offshore’s argument that
BP be required to respond to the discovery requests.

                                                  13
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 14 of 17




to have sought an agreement in which the plaintiffs would have waived any right to obtain

discovery against E & Y in any action or proceeding of any kind except in an arbitration against

E & Y and even there only as the arbitrator might allow. Evidently it sought no such agreement

—in any case, it did not obtain one—and there is no reason for the Court to rewrite the bargain

that it did make”).

               3.     BP’s Own Discovery Efforts Undermine Its Claim that Anadarko and
                      MOEX Offshore Have Sought Information Beyond the Proper Scope
                      of Discovery.
       One might assume that, if BP truly believed that the OA prohibited the parties bound by

its arbitration provisions from pursuing any discovery, it would not have made any discovery
requests on Anadarko and MOEX Offshore in the MDL proceedings. BP’s actions, however,

demonstrate that it held no such belief. From the beginning of the MDL discovery process, BP

has been diligent to arm itself with as much information as possible regarding Anadarko and

MOEX Offshore. It has served notice of its intention to depose at least six employees or

representatives of the Non-Operating Defendants or their affiliates. Appendix, Exhibit D. And it

has served discovery requests on other parties seeking evidence about the Non-Operating

Defendants. Appendix, Exhibits E & F.

       The extensive efforts by BP to, on one hand, collect as much discovery as possible in the

MDL regarding the Non-Operating Defendants and, on the other hand, to resist and deny those

same parties the ability to seek similar information regarding BP, suggests that BP’s newfound

position is a product of strategy, rather than any reasonable reading of the OA’s arbitration

provisions. If BP has its way, once the discovery record is closed and to its liking, it will then

have the option to use that one-sided discovery against the Non-Operating Defendants, fully

expecting that they will not be able to obtain comparable discovery under the OA. This Court

should not reward BP’s tactics or credit its attempt to use the arbitration provisions in the OA as

a shield against any discovery by Anadarko and MOEX Offshore in the MDL—particularly

where BP possesses information that is relevant and critical to defending the claims made against



                                                14
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 15 of 17




Anadarko and MOEX Offshore by the 40,000 plaintiffs in the MDL.

       In sum, the Court should grant the Non-Operating Defendants’ joint motion to compel

discovery. The Non-Operating Defendants must remain free to fully litigate and defend against

the claims raised by the plaintiffs, which clearly fall outside the scope of any arbitration

agreement, regardless of any potential overlap with potentially arbitrable claims.
                                        CONCLUSION
       For the foregoing reasons, the Joint Motion of Defendants Anadarko and MOEX

Offshore To Compel Response To Discovery Requests Served Upon BP Exploration &
Production, Inc., BP America Inc., BP America Production Company, and BP p.l.c. should be

granted.



                                             Respectfully submitted,

       DATED: April 15, 2011                 BINGHAM McCUTCHEN, LLP

                                             /s/ Ky E. Kirby______________________________
                                             Ky E. Kirby
                                             ky.kirby@bingham.com
                                             David B. Salmons
                                             david.salmons@bingham.com
                                             Michael B. Wigmore
                                             michael.wigmore@bingham.com
                                             Warren Anthony Fitch
                                             tony.fitch@bingham.com
                                             Randall M. Levine
                                             randall.levine@bingham.com
                                             2020 K Street, NW
                                             Washington, DC 20006-1806
                                             Telephone (202) 373-6000
                                             Facsimile (202) 373-6001

                                             James J. Dragna
                                             jim.dragna@bingham.com
                                             Bingham McCutchen LLP
                                             355 South Grand Avenue
                                             Suite 4400
                                             Los Angeles, California 90071-3106
                                             Telephone (213) 680-6436

                                                15
Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 16 of 17




                                Facsimile (213) 680-8636

                                KUCHLER POLK SCHELL
                                WEINER & RICHESON, LLC

                                Deborah D. Kuchler, T.A. (La. Bar No. 17013)
                                dkuchler@kuchlerpolk.com
                                Janika Polk (La. Bar No. 27608)
                                jpolk@kuchlerpolk.com
                                Robert Guidry (La. Bar No. 28064)
                                rguidry@kuchlerpolk.com
                                1615 Poydras Street, Suite 1300
                                New Orleans, LA 70112
                                Tel: (504) 592-0691
                                Fax: (504) 592-0696




                                  16
  Case 2:10-md-02179-CJB-DPC Document 1965-1 Filed 04/15/11 Page 17 of 17




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing to be served on all counsel via the Lexis Nexis File & Serve system, and that the

foregoing was electronically filed with the Clerk of Court of the United States District Court for

the Eastern District of Louisiana by using the CM/ECF system, who will send a notice of

electronic filing in accordance with the procedures established in MDL 2179, on April 15, 2011.



                                             ____________/s/ Ky E. Kirby__________________
                                                         Ky E. Kirby




                                               17
